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                       EXHIBIT 3
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                       EXHIBIT 4
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                       EXHIBIT 5
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                       EXHIBIT 6
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                       EXHIBIT 7
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                       EXHIBIT 8
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                       EXHIBIT 9
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                      EXHIBIT 10
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                      EXHIBIT 11
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                      EXHIBIT 12
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                      EXHIBIT 14
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                      EXHIBIT 15
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                      EXHIBIT 16
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                      EXHIBIT 17
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                      EXHIBIT 27
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                      EXHIBIT 30
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